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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   ERIC & CO TRADING GROUP LLC,                                 CASE NO.: 23-CV-20045-RKA

           Judgment Creditor,

   v.

   FLOYD MAYWEATHER, JR.,

           Judgment Debtor.

   and

   JP MORGAN CHASE BANK, N.A. and
   ENHANCE HEALTH LLC,

         Garnishees.
   ___________________________________/

              ORDER ON EX-PARTE MOTION FOR WRIT OF GARNISHMENT

           THIS CAUSE is before the Court upon Judgment Creditor, ERIC & CO TRADING

   GROUP LLC’s (“Judgment Creditor” or “Eric & Co.”) Ex-Parte Motion for Writ of Garnishment

   (the “Motion”) filed with the Court on August 22, 2023. The Court having reviewed the Motion

   and pleadings in this case and being fully apprised on the premises, it is hereby:

           ORDERED and ADJUDGED that the Motion is GRANTED. The Clerk of the Court is

   directed to issue the Writs of Garnishment.

           DONE and ORDERED in the Southern District of Florida on August ____, 2023.



                                           ___________________________________
                                           ROY K. ALTMAN
                                           UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   Zachary P Hyman, Esq.
   Floyd Mayweather, Jr., Judgment Debtor
   288 South Coconut Lane, Miami Beach, Florida 33139
